Case 9:16-cv-81871-KAM Document 54 Entered on FLSD Docket 12/16/2016 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                   Case No. 16-CV-81871-KAM

  LAN LI, an individual, et al.,

         Plaintiffs,

  v.

  JOSEPH WALSH, an individual, et al.,

         Defendants.

              ________________________/


       DEFENDANT LESLIE ROBERT EVANS & ASSOCIATES, P.A.’S CORPORATE
                         DISCLOSURE STATEMENT

         Defendant LESLIE ROBERT EVANS & ASSOCIATES, P.A. (“Defendant”), by and

  through undersigned counsel, and pursuant to Rule 7.1 of the Federal Rules Of Civil Procedure,

  hereby discloses that there are no parent corporations or publically held corporations that hold

  ten percent or more of Defendant’s stock/membership interest.

                                              Respectfully Submitted,

                                              BY: /s/Gregory R. Elder
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                                                 1
Case 9:16-cv-81871-KAM Document 54 Entered on FLSD Docket 12/16/2016 Page 2 of 2




                                  CERTIFICATE OF SERVICE
  I HEREBY CERTIFY that on this 16th day of December, 2016, I electronically filed the
  forgoing with the Clerk of Court by using the CM/ECF system which I understand will serve a
  copy on all counsel of record, whose addresses are listed below.

                                              BY: /s/Gregory R. Elder

                                         SERVICE LIST
                                  Lan Li, et al., v. Joseph Walsh,
                                  et al. Case No. 1:16-cv-81871



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